Case 1:19-mj-00053-JFA Document 7 Filed 02/13/19 Page 1 of 1 PageID# 16




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

UNITED STAT.ES OF AMERICA                            )
                                                     )
V.                                                   )      Case No. 1: I 9MJ53
                                                     )
                                                     )
PETER D. QUINN,                                      )
                                                     )
                      Defendant.                     )


                                            ORDER

        The defendant has filed an unopposed motion requesting that the Court permit him to
waive his appearance at the February 19, 2019, status hearing in this matter. For the reasons set
forth in the defendant's motion, and for good cause having been shown, it is hereby

       ORDERED that the defendant's motion is granted; it is further

       ORDERED that the Court will proceed with the status hearing without the defendant's

                       .,..
presence in accordance with Federal Rule of Criminal Procedure 43(b)(2) .

       Entered this� day of February, 2019



                                                     U.S. Magistrate Judge
